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                       UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA

  TAWAINNA ANDERSON, Individually                   CASE NO.
  and as Administratrix of the ESTATE
  OF NYLAH ANDERSON, a deceased
  minor

                         Plaintiff,                 COMPLAINT WITH JURY TRIAL
                                                    DEMANDED
        v.

 TIKTOK, INC. AND
 BYTEDANCE, INC.

                         Defendants

                                        COMPLAINT

       In recent years, there has been growing concern about the impact of digital
       technologies, particularly social media, on the mental health and wellbeing of
       children and young people….Technology companies must step up and take
       responsibility for creating a safe digital environment for children and youth.
       Today, most companies are not transparent about the impact of their products,
       which prevents parents and young people from making informed decisions and
       researchers from identifying problems and solutions. At a minimum, the public
       and researchers deserve much more transparency.
Protecting Youth Mental Health, United States Surgeon General’s Advisory, Dec. 7, 2021.

       COMES NOW, Plaintiff, Tawainna Anderson, Individually and as Administratrix of the

Estate of Nylah Anderson, a deceased minor, by her undersigned counsel, and makes the following

Complaint against Defendants, TikTok Inc. and ByteDance Inc. (collectively referred to as the

“TikTok Defendants”), and alleges as follows:

                                        INTRODUCTION

       1.       On December 7, 2021 10-year-old Nylah Anderson was excruciatingly asphyxiated

when she attempted to perform a viral TikTok challenge known as the “Blackout Challenge” which

encourages children to choke themselves until passing out.

       2.       After Nylah attempted the TikTok challenge and passed out, Plaintiff, Tawainna

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Anderson, found her young daughter and rushed her to the hospital. Nylah suffered in the pediatric

intensive care unit for several days until she tragically succumbed to her injuries and died on

December 12, 2021.

           3.      The viral and deadly TikTok Blackout Challenge was thrust in front of Nylah on

her TikTok For You Page (“FYP”) as a result of TikTok’s algorithm which, according to the

TikTok Defendants, is “a recommendation system that delivers content to each user that is likely

to be of interest to that particular user…each person’s feed is unique and tailored to that specific

individual.”1

           4.      The TikTok Defendants’ algorithm determined that the deadly Blackout

Challenge was well-tailored and likely to be of interest to 10-year-old Nylah Anderson, and she

died as a result.

           5.      The TikTok Defendants’ app and algorithm are intentionally designed to maximize

user engagement and dependence and powerfully encourage children to engage in a repetitive and

dopamine-driven feedback loop by watching, sharing, and attempting viral challenges and other

videos. TikTok is programming children for the sake of corporate profits and promoting

addiction.

           6.      Plaintiff brings this strict product liability and negligence action against the TikTok

Defendants to hold them accountable for their dangerously defective product—the TikTok app and

its algorithm—and the TikTok Defendants’ own direct negligent conduct.

           7.      Plaintiff does not seek to hold the TikTok Defendants liable as the speaker or

publisher of third-party content and instead intends to hold the TikTok Defendants responsible for

their own independent conduct as the designers, programmers, manufacturers, sellers, and/or



1
    https://newsroom.tiktok.com/en-us/how-tiktok-recommends-videos-for-you/

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distributors of their dangerously defective social media products and for their own independent

acts of negligence as further described herein. Thus, Plaintiffs claims fall outside of any potential

protections afforded by Section 230(c) of the Communications Decency Act.

                                             PARTIES

       8.      Plaintiff, Tawainna Anderson (“Plaintiff”), is an adult individual and resident of the

Commonwealth of Pennsylvania, residing at 2319 Bethel Road, Chester, Pennsylvania 19013.

       9.      At all times relevant hereto, Plaintiff was the mother of 10-year-old Nylah

Anderson.

       10.     On April 7, 2022, Plaintiff was appointed as Administratrix of the estate of Nylah

Anderson by the Register of Probate and Wills in and for County of Delaware in the

Commonwealth of Pennsylvania. See Exhibit A, Letters of Administration.

       11.     Nylah Anderson is survived by her mother, Plaintiff Tawainna Anderson, her

brothers, Nakye Anderson and Kevin Freeman Lamarr Neal III, as well as potentially her

biological father.

       12.     Nylah was an active, happy, healthy, and incredibly intelligent child. Though only

10 years old, Nylah spoke three languages.




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       13.      Defendant, TikTok Inc., is a corporation organized and existing under the laws of

the State of California with its principal place of business located at 5800 Bristol Parkway, Culver

City, California 90230.

       14.      At all times relevant hereto, Defendant TikTok Inc. has carried out, and continues

to carry out, substantial, continuous, and systematic business activities within the Commonwealth

of Pennsylvania, and has purposely established significant contacts within Pennsylvania.

       15.      Plaintiff’s claims and the injuries and damages alleged herein arise directly out of,

and are related to, Defendant TikTok Inc.’s contacts and activities in the Commonwealth of

Pennsylvania.

       16.      At all times relevant hereto, Defendant TikTok Inc. was acting by and through its

employees, servants, agents, workmen, and/or staff, all of whom were acting within the course and

scope of their employment, for and on behalf of TikTok Inc.

       17.      Defendant, ByteDance Inc., is a corporation organized and existing under the laws

of the State of Delaware with its principal place of business located at 250 Bryant Street, Mountain

View, California 94041.

       18.      At all times relevant hereto, Defendant ByteDance Inc. has carried out, and

continues to carry out, substantial, continuous, and systematic business activities within the

Commonwealth of Pennsylvania, and has purposely established significant contacts within

Pennsylvania.

       19.      Plaintiff’s claims and the injuries and damages alleged herein arise directly out of,

and are related to, Defendant ByteDance Inc.’s contacts and activities in the Commonwealth of

Pennsylvania.

       20.      At all times relevant hereto, Defendant ByteDance Inc. was acting by and through



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its employees, servants, agents, workmen, and/or staff, all of whom were acting within the course

and scope of their employment, for and on behalf of ByteDance Inc.

          21.   Upon information and belief, at all times relevant hereto, the TikTok Defendants

were the designers, programmers, manufacturers, distributors, sellers, suppliers, operators,

managers, and/or were otherwise responsible for the operation of the TikTok app and its associated

algorithms.

                                    JURISDICTION AND VENUE

          22.   This Court has specific jurisdiction over Plaintiff’s action pursuant to 28 U.S.C. §

1332(a) as the amount in controversy exceeds the jurisdictional threshold, exclusive of costs, is

between citizens of different states, and because the TikTok Defendants each have certain

minimum contacts with the Commonwealth of Pennsylvania such that the maintenance of the suit

in this district does not offend traditional notions of fair play and substantial justice, and because

the injuries and damages alleged herein arise directly out of, and are related to, Defendants’

contacts and activities in the Commonwealth of Pennsylvania.

          23.   Plaintiff’s decedent, Nylah Anderson, downloaded the TikTok app on her

smartphone in Pennsylvania, relying on the TikTok Defendants’ assurances that the app was safe

to use.

          24.   Plaintiff’s decedent, Nylah Anderson, created her TikTok app user profile in

Pennsylvania.

          25.   Plaintiff’s decedent, Nylah Anderson, first viewed the dangerous content associated

with the TikTok Blackout Challenge while in Pennsylvania.

          26.   Plaintiff’s decedent, Nylah Anderson, used the TikTok app on her smartphone in

Pennsylvania, including on the date she attempted the viral TikTok Blackout Challenge.



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           27.      The TikTok Defendants’ algorithm delivered the dangerous and deadly viral

TikTok Blackout Challenge directly to Nylah’s FYP on her phone in Pennsylvania.

           28.      The TikTok Defendants’ contacts and activities in Pennsylvania directly gave rise

to the injuries and damages suffered by Nylah Anderson, her estate, and her beneficiaries, as

alleged herein, as the TikTok Defendants’ algorithm presented Nylah Anderson with the deadly

challenge which ultimately led to her death in Pennsylvania, and this Court thus has specific

personal jurisdiction over the TikTok Defendants in this action.

           29.      There is specific personal jurisdiction over the TikTok Defendants pursuant to

Pennsylvania’s long arm statute, 42 Pa.C.S. § 5322.

           30.      Venue is proper in the United States District Court of the Eastern District of

Pennsylvania pursuant to 28 U.S.C. § 1391(b) as a substantial portion of the acts, omissions, and

events giving rise to Plaintiff’s claim occurred in and around this district.

                                             FACTUAL ALLEGATIONS

           A.       The Detrimental Impact of Social Media Platforms, Including TikTok, on
                    Children

           31.      On December 7, 2021, the United States Surgeon General issued an advisory titled

Protecting Youth Mental Health which presented data showing an alarming rise in mental health

challenges among children.2 This crisis includes a dramatic explosion in the number of suicides,

attempted suicides, and inpatient mental health admissions for U.S. children. For example,

between 2007 and 2018, suicide rates among children ages twelve to sixteen in the U.S. increased

by 146 percent, and incidences of serious depression and dissatisfaction with life in this same age

group have dramatically risen. According to the Surgeon General’s December 7, 2021 advisory,

between 2011 and 2015, youth psychiatric visits to emergency departments for depression, anxiety,


2
    https://www.hhs.gov/sites/default/files/surgeon-general-youth-mental-health-advisory.pdf

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and behavioral challenges increased by 28 percent.

           32.      Concurrent with the emergence of this mental health crisis among children and

teenagers has been the explosion of social media platform use by children. A Pew Research Center

2018 study revealed that 45 percent of high school students reported using a social media platform

daily, while 24 percent reported being online “almost constantly.”

           33.      The COVID-19 pandemic and the rapid emergence of TikTok have accelerated this

trend. In 2020, a staggering 81 percent of 14- to 22-year-olds reported using social media either

“daily” or “almost constantly.”

           34.      The U.S. Surgeon General December 7, 2021 advisory warned of the “growing

concern about the impact of digital technologies, particularly social media, on the mental health

and wellbeing of children and young people[]” and that research has shown that social media “can

expose children to bullying, contribute to obesity and eating disorders, trade off with sleep,

encourage children to negatively compare themselves to others, and lead to depression, anxiety,

and self-harm.” Indeed, “[s]everal studies have linked time spent on social media to mental health

challenges such as anxiety and depression.”

           35.      A July 2021 report titled Pathways: How digital design puts children at risk,3

published by 5Rights Foundation detailed “alarming and upsetting” results from interviews with

digital designers and children which lays bare how the commercial objectives of digital social

media companies, like the TikTok Defendants, translate into design features that negatively impact

children.

           36.      The Pathways report shockingly describes the social media world in which today’s

children are living as one in which the social media conglomerates, including the TikTok



3
    https://5rightsfoundation.com/uploads/Pathways-how-digital-design-puts-children-at-risk.pdf

                                                          7
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Defendants, push products which intend to maximize the time spent using the product and shaping

children’s behavior. A digital design professional interviewed by 5Rights Foundation put it

succinctly—“companies make their money from attention.                        Reducing attention will reduce

revenue.”

           37.      As another digital design professional included in the Pathways report stated,

“[t]here are no safety standards – there is no ethics board in the digital space.”

           38.      The TikTok Defendants were aware of each of these reports, yet failed to act to

correct the safety hazards identified.

           39.      Social media giants like the TikTok Defendants have seized the opportunity

presented by the digital wild west to manipulate and control the behavior of vulnerable children to

maximize attention dedicated to their social media platforms and thus maximize revenues and

profits, all while shirking any safety responsibilities whatsoever.

           40.      In all settings other than social media platforms children are offered protections

deemed critical for children’s safety and proper development. A bar or restaurant cannot serve a

child an alcoholic drink. A retail store may not sell children products like spray paint. A

convenience store may not sell children cigarettes. A movie theatre may not allow children to see

an R-rated film. A drug company cannot give children a dose of medicine meant for an adult.

Children’s toys have warnings for parents to read and abide by. These protections do not apply

only when harm is proven, but in anticipation of the risks associated with children’s age and

evolving capacity. These protections are hardwired into our legal system and our culture.4

Everywhere but the social media universe created by those like the TikTok Defendants.

           41.      The U.S. Surgeon General December 7, 2021 advisory called upon digital media



4
    https://5rightsfoundation.com/uploads/Pathways-how-digital-design-puts-children-at-risk.pdf

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companies like the TikTok Defendants to “step up and take responsibility for creating a safe digital

environment for children and youth.”

         42.       The TikTok Defendants have failed to heed this warning.

         B.        The TikTok App Becomes a Global Phenomenon With a Strong Presence in
                   the United States

         43.       The TikTok app has become “one of the world’s fastest-growing social media

platforms” and a “global phenomenon” with a massive American audience.5 In November 2019,

the Washington Post reported that the TikTok app had been downloaded more than 1.3 billion

times worldwide and more than 120 million times in the United States.6 However, by April 2020,

TechCrunch reported that the TikTok app’s worldwide downloads already had surpassed 2 billion,

and that in “the quarter that ended on March 31, TikTok was downloaded 315 million times — the

highest number of downloads for any app in a quarter.”7

         44.       TikTok is the most downloaded non-game app in the world.8 The TikTok app

routinely outranks its top competitors – such as Facebook, Snapchat, and Instagram – on the Apple

and Google app stores.9 In fact, it has been the most downloaded app on the Apple and Google

app stores for months.10 The average user opened the TikTok app more than 8 times per day and

spent approximately 45 minutes on the app daily as of March 2019.11 Its popularity and use has

skyrocketed since March 2019 and its daily usage numbers today dwarf those from March 2019.




5 https://www.washingtonpost.com/technology/2019/11/05/inside-tiktok-culture-clash-whereus-views-about-censorship-often-
were-overridden-by-chinese-bosses/.
6 https://www.washingtonpost.com/technology/2019/11/05/inside-tiktok-culture-clash-whereus-views-about-censorship-often-
were-overridden-by-chinese-bosses/.
7 https://techcrunch.com/2020/04/29/tiktok-tops-2-billion-downloads/.
8 https://www.cnbc.com/2019/07/25/china-camera-apps-may-open-up-user-data-to-beijinggovernment-requests.html.
9 https://www.washingtonpost.com/technology/2019/11/05/inside-tiktok-culture-clash-whereus-views-about-censorship-often-
were-overridden-by-chinese-bosses/.
10 https://thehill.com/policy/technology/469114-tiktok-faces-lawmaker-anger-over-china-ties.
11 https://www.wsj.com/articles/tiktoks-videos-are-goofy-its-strategy-to-dominate-social-mediais-serious-11561780861.

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        45.       In January 2020, Barron’s reported on the TikTok app’s revenue: “The wildly

popular short-video service generated $176.9 million in revenue in 2019—71% of the total $247.6

million in revenue the app has ever generated, according to new data from the app-tracking firm

SensorTower. In the fourth quarter alone, TikTok had revenue of $88.5 million, up two times from

the third quarter and up six times year over year, most of that from advertising and in-app

purchases, SensorTower reports. China accounted for about 69% of the company’s 2019 revenue,

according to the firm, with U.S. revenues accounting for 20%.”12

        46.       Evidencing the TikTok app’s rapid growth, three months later, TechCrunch

reported that: “Users have spent about $456.7 million on TikTok to date, up from $175 million

five months ago. Users in the U.S. have spent about $86.5 million on the app, making the nation

the second most important market for TikTok from the revenue standpoint.”13

        47.       In 2021, TikTok reported that it had 1 billion active global users,14 and revenues of

$4.6 billion.15

        48.       Alarmingly, estimated age demographics show that a staggering 28 percent of

TikTok’s users are under the age of 18.16

        49.       More precise data on the average age of users is known to the TikTok defendants

but not disclosed to the public or government agencies.

        C.        The TikTok Defendants’ App and Algorithm

        50.       TikTok is a video sharing social media app and product which allows and

encourages users to create, share, and view short video clips.




12
   https://www.barrons.com/articles/beware-facebook-tiktok-revenues-are-exploding51579201752.
13
   https://techcrunch.com/2020/04/29/tiktok-tops-2-billion-downloads/.
14
   https://www.cnbc.com/2021/09/27/tiktok-reaches-1-billion-monthly-users.html
15
   https://www.businessofapps.com/data/tik-tok-statistics/
16
   Id.

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        51.     TikTok users who open the TikTok app are immediately confronted with an endless

stream of curated videos selected by the TikTok Defendants’ proprietary algorithm and shown to

users on their FYP which is a “defining feature of the TikTok platform[.]”17

        52.     According to the TikTok Defendants, the FYP is “central to the TikTok experience

and where most of our users spend their time.”18

        53.     The TikTok Defendants’ algorithm selects which videos are shown to each user

based on the user’s demographics, including age, user interactions such as the videos viewed and

shared, and the seemingly limitless amount of metadata tied to each user’s digital presence and

device settings which is collected and analyzed by the TikTok Defendants.

        54.     The TikTok Defendants’ algorithm “delivers content to each user that is likely to

be of interest to that particular user.”19 The TikTok Defendants boast that “while different people

may come upon some of the same standout videos, each person’s feed is unique and tailored to

that specific individual.”20

        55.     The TikTok Defendants claim that their algorithm is “designed with safety as a

consideration.” “Reviewed content found to depict things like graphic medical procedures or legal

consumption of regulated goods…may not be eligible for recommendation.” 21

        56.     The algorithm is designed and employed to achieve a singular ultimate goal:

increase corporate profits. The TikTok Defendants’ app and algorithm seeks to show users videos

and content designed to keep users engaged and glued to the app where they are encouraged only

to participate more.




17
   https://newsroom.tiktok.com/en-us/how-tiktok-recommends-videos-for-you/
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   Id.
19
   Id.
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   Id.
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   Id.

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       57.      The TikTok Defendants prey upon vulnerable users, such as children, who are

thrust into a never-ending dopamine feedback loop which creates addiction and a compelling urge

to engage further in the TikTok Defendants’ app.

       58.      Cultivating and feeding addictive use of the app through the algorithm translates

into greater revenues for the TikTok Defendants.

       59.      The TikTok Defendants’ app and algorithm are carrying out social and

psychological programming and manipulation on an unprecedented scale, particularly among

children.

       60.      The TikTok Defendants’ app and algorithm have created an environment in which

TikTok “challenges” are widely promoted and result in maximum user engagement and

participation, thus financially benefitting the TikTok Defendants.

       61.      TikTok “challenges” involve users filming themselves engaging in behavior that

mimics and often times “one-ups” other users posting videos performing the same or similar

conduct. These TikTok “challenges” routinely involve dangerous or risky conduct.

       62.      The TikTok Defendants’ algorithm presents these often-dangerous “challenges” to

users on their FYP and encourages users to create, share, and participate in the “challenge.”

       63.      There have been numerous dangerous TikTok challenges that the TikTok

Defendants’ app and algorithm have caused to spread rapidly, which promote dangerous behavior,

including:

                •      Fire Mirror Challenge – involves participants spraying shapes on their
                       mirror with a flammable liquid and then setting fire to it.
                •      Orbeez Shooting Challenge – involves participants shooting random
                       strangers with tiny water-absorbent polymer beads using gel blaster guns
                •      Milk Crate Challenge – involves participants stacking a mountain of milk
                       crates and attempting to ascend and descend the unstable structure without
                       falling



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    •    Penny Challenge – involves sliding a penny behind a partially plugged-in
         phone charger
    •    Benadryl Challenge – involves consuming a dangerous amount of
         Benadryl in order to achieve hallucinogenic effects
    •    Skull Breaker Challenge – involves users jumping in the air while friends
         kick their feet out from underneath them, causing the users to flip in the air
         and fall back on their head
    •    Cha-Cha Slide Challenge – involves users swerving their vehicles all over
         the road to the famous song by the same name
    •    Dry Scoop Challenge – involves users ingesting a heaping scoop of
         undiluted supplemental energy powder
    •    Nyquil Chicken Challenge – involves soaking chicken breast in cough
         medicine like Nyquil and cooking it, boiling off the water and alcohol in it
         and leaving the chicken saturated with a highly concentrated amount of
         drugs in the meat
    •    Tooth Filing Challenge – involves users filing down their teeth with a nail
         file
    •    Fax Wax Challenge – involves users covering their entire face, including
         their eyes, with hot wax before ripping it off
    •    Coronavirus Challenge – involves users licking random items and surfaces
         in public during the midst of the global COVID-19 pandemic
    •    Scalp Popping Challenge – involves users twisting a piece of hair on the
         crown of someone's head around their fingers and pulling upward, creating
         a “popping” effect on their scalp
    •    Nutmeg Challenge – involves users consuming dangerously large amounts
         of nutmeg with the aim of achieving an intoxicating high
    •    Throw it in the Air Challenge – involves users standing in a circle looking
         down at a cellphone on the ground as someone throws an object into the air,
         and the goal is to not flinch as you watch the object fall on one of the
         participant’s heads
    •    Corn Cob Challenge – involves users attaching a corn cob to a power drill
         and attempting to each the corn as it spins
    •    Gorilla Glue Challenge – involves users using a strong adhesive to stick
         objects to themselves
    •    Kiki Challenge – involves users getting out of moving vehicles to dance
         alongside in the roadway
    •    Salt and Ice Challenge – involves users putting salt on their skin and then
         holding an ice cube on the spot for as long as possible, creating a chemical
         reaction that causes pain and can lead to burns
    •    Snorting Challenge – involves users snorting an entire latex condom into
         their nose before pulling it out of their mouth
    •    Hot Water Challenge – involves users pouring boiling hot water on
         someone else
    •    Fire Challenge – involves users dousing themselves in a flammable liquid
         and then lighting themselves on fire

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       64.     One of the deadliest TikTok Challenges to make its rounds on the TikTok

Defendants’ app and be promoted to users by their FYP algorithm is the TikTok Blackout

Challenge, which encourages users to choke themselves with belts, purse strings, or anything

similar until passing out.

       65.     10-year-old Nylah Anderson died from attempting the Blackout Challenge because

the TikTok Defendants’ dangerously defective app and algorithm determined that the Blackout

Challenge was “tailored” and “likely to be of interest” to Nylah.

       D.      The TikTok Defendants Knew the Deadly Blackout Challenge Had Killed
               Multiple Children

       66.     Tragically, Nylah Anderson is just the latest in a growing list of children killed as

a result of the TikTok Defendants’ app and algorithm determining it is appropriate to promote the

dissemination of the deadly Blackout Challenge to kids.

       67.     On January 21, 2021, a 10-year-old girl in Italy died after the TikTok Defendants’

app and algorithm recommended the Blackout Challenge to her vis-à-vis her FYP. According to

Italian news reports, after the young girl saw the Blackout Challenge on her TikTok app, she tied

a belt around her neck and choked herself, causing her to go into cardiac arrest. She was rushed

to the hospital but was declared braindead upon arrival and ultimately died.

       68.     On March 22, 2021, a 12-year-old boy, Joshua Haileyesus, died after attempting

the Blackout Challenge that the TikTok Defendants’ app and algorithm recommended to him

through his FYP. Joshua was discovered breathless and unconscious by his twin brother and

ultimately died after 19 days on life support. Joshua attempted the Blackout Challenge by choking

himself with a shoelace.




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       69.     On June 14, 2021, a 14-year-old boy died in Australia while attempting to take part

in TikTok’s Blackout Challenge after the TikTok Defendants’ app and algorithm presented the

deadly challenge to him through his FYP.

       70.     In July 2021, a 12-year-old boy died in Oklahoma while attempting the Blackout

Challenge after the TikTok Defendants’ app and algorithm recommended the dangerous and

deadly video to him through his FYP.

       71.     The TikTok Defendants unquestionably knew that the deadly Blackout Challenge

was spreading through its app and that its algorithm was specifically feeding the Blackout

Challenge to children, including those who had died.

       72.     The TikTok Defendants knew or should have known that failing to take immediate

and significant action to extinguish the spread of the deadly Blackout Challenge would result in

more injuries and deaths, especially among children, as a result of their users attempting the viral

challenge.

       73.     The TikTok Defendants knew or should have known that their products—the app

and algorithm—were dangerously defective and in need of immediate and significant change to

prevent users, especially children, from being shown dangerous challenges that were known to

have killed children.

       74.     The TikTok Defendants knew or should have known that a failure to take

immediate and significant corrective action would result in an unreasonable and unacceptable risk

that additional users, and additional children, would fall victim to the deadly Blackout Challenge.

       75.     Despite this aforementioned knowledge, the TikTok Defendants outrageously took

no and/or completely inadequate action to extinguish and prevent the spread of the Blackout

Challenge and specifically to prevent the Blackout Challenge from being shown to children on



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their FYP despite knowing that such a failure would inevitably lead to more injuries and deaths,

including those of children.

       76.      Despite this aforementioned knowledge, the TikTok Defendants outrageously

failed to change, update, and/or correct their algorithm to prevent it from presenting users,

specifically children, with the dangerous and deadly Blackout Challenge despite knowing that such

a failure would inevitably lead to more injuries and deaths, including those of children.

       77.      The TikTok Defendants failed to take the necessary corrective action because it

would result in less user engagement on the app and thus less corporate profits.

       78.      The TikTok Defendants prioritized greater corporate profits over the health and

safety of its users, and specifically over the health and safety of vulnerable children.

       E.       Nylah Anderson’s Fatal TikTok Experience

       79.      Nylah Anderson was a bright, active, and innocent 10-year-old girl who fell victim

to the TikTok Defendants’ predatory and manipulative app and algorithm.

       80.      Prompted by the never-ending stream of notifications from the TikTok app that

were pushed to the forefront of Nylah’s attention every day, Nylah began attempting to TikTok

challenges that were presented to her on her FYP.

       81.      The TikTok Defendants’ app and algorithm pushed exceedingly and unacceptably

dangerous challenges and videos to Nylah’s FYP, thus encouraging her to engage and participate

in the challenges.

       82.      Only days before Nylah attempted the Blackout Challenge that killed her, the

TikTok Defendants’ algorithm presented Nylah with a similar choking challenge through her FYP,

which entailed placing plastic wrap around her neck and holding her breath until a euphoric effect

was achieved.



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       83.     The following day, the TikTok Defendants’ algorithm thrust the Blackout

Challenge onto Nylah’s FYP, encouraging Nylah to participate.

       84.     The particular Blackout Challenge video that the TikTok Defendants’ algorithm

showed Nylah prompted Nylah to hang a purse from a hanger in her closet and position her head

between the bag and shoulder strap and then hang herself until blacking out.

       85.     On December 7, 2021 Nylah attempted the Blackout Challenge she had seen on her

FYP in her mother’s bedroom closet while her mother was downstairs.

       86.     Tragically, after hanging herself with the purse as the video the TikTok Defendants

put on her FYP showed, Nylah was unable to free herself. Nylah endured hellacious suffering as

she struggled and fought for breath and slowly asphyxiated until near the point of death.

       87.     Plaintiff, Tawainna Anderson, found her daughter unconscious and hanging in her

bedroom closet by her neck from the purse strap.

       88.     Plaintiff performed several rounds of emergency CPR on Nylah in an ultimately

futile effort to resuscitate her as Plaintiff waited for emergency responders to arrive.

       89.     Three deep ligature marks were found on Nylah’s neck, suggesting that she

struggled greatly to free herself from the perilous and terrifying position but was unable to do so.

       90.     Nylah was emergently transported to Nemours DuPont Hospital in Delaware with

the hope that she could survive the extreme injuries she sustained in this horrific event.

       91.     After spending several days in the pediatric intensive care unit, all hope for Nylah

was extinguished and on December 12, 2021, 10-year-old Nylah Anderson succumbed to her

injuries and died.




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        92.     This tragedy and the unimaginable suffering endured by Plaintiff and Nylah’s

family was entirely preventable had the TikTok Defendants not ignored the health and safety of

its users, particularly the children using their product, in an effort to rake in greater profits.

        93.     The TikTok Defendants’ intentionally manipulative app and algorithm thrust an

unacceptably dangerous video that Defendants knew to be circulating its platform in front of an

impressionable 10-year-old girl.

        94.     As a direct result of the TikTok Defendants’ corrosive marketing practices, Nylah

attempted the dangerous challenge and died as a result.

        95.     As a direct and proximate result of the Defendants’ carelessness, negligence, gross

negligence, recklessness, willful and wanton conduct, strict liability, failure to warn, and defective

design, Nylah suffered serious, severe, disabling injuries including, but not limited to her death

resulting from asphyxiation by strangulation.

        96.     As a direct and proximate result of the Defendants’ carelessness, negligence, gross

negligence, recklessness, willful and wanton conduct, strict liability, failure to warn, and defective

design, which resulted in the death of Nylah Anderson, her beneficiaries have in the past and will

in the future continue to suffer great pecuniary loss, including, but not limited to, loss of support,

loss of aid, loss of services, loss of companionship, loss of consortium and comfort, loss of

counseling, and loss of guidance.

        97.     As a direct and proximate result of the Defendants’ carelessness, negligence, gross

negligence, recklessness, willful and wanton conduct, strict liability, failure to warn, and defective

design, Nylah Anderson’s beneficiaries incurred or have been cause to incur and pay large and

various expenses for various funeral, burial, and estate administration expenses for which Plaintiff

is entitled to compensation.



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          98.    As a direct and proximate result of the Defendants’ carelessness, negligence, gross

negligence, recklessness, willful and wanton conduct, strict liability, failure to warn, and defective

design, Plaintiff claims all damages suffered by the Estate of Nylah Anderson and her wrongful

death beneficiaries by reason of the death of Nylah Anderson, including, without limiting the

generality thereof, the following: the severe injuries to Nylah which resulted in her death; the

anxiety, horror, fear of impending death, mental disturbance, pain, suffering and other intangible

losses which Nylah suffered prior to her death; the loss of future earning capacity suffered by

Nylah from the date of her death until the time in the future that she would have lived had she not

died as a result of the injuries she sustained; and the loss and total limitation and deprivation of

her normal activities, pursuits and pleasures from the date of her death until such time in the future

as she would have lived had she not died as a result of the injuries sustained by reason of the

Defendants’ carelessness, negligence, gross negligence, recklessness, strict liability, failure to

warn, and defective design.

          99.    As a direct and proximate result of the Defendants’ carelessness, negligence, gross

negligence, recklessness, willful and wanton conduct, strict liability, failure to warn, and defective

design, Plaintiff, Tawainna Anderson, has been forced to suffer the death and loss of her 10-year-

old daughter, Nylah Anderson.

          100.   Defendants are jointly and severally liable for the injuries and damages alleged

herein.

                         COUNT I – STRICT PRODUCTS LIABILITY

    TAWAINNA ANDERSON, Individually and as Administratrix of the ESTATE OF
         NYLAH ANDERSON v. TIKTOK INC. AND BYTEDANCE INC.

          101.   Plaintiff hereby incorporates by reference each and every allegation contained in

the preceding paragraphs the same as though fully set forth herein.


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       102.    The TikTok Defendants’ app and the algorithm that determines the videos and

content that each user, including Nylah Anderson, sees is a product that is downloaded and used

by hundreds of millions, if not billions, of people across the world, including young children like

Nylah Anderson.

       103.    The TikTok app and its algorithm are designed, developed, programmed,

manufactured, marketed, sold, supplied, distributed, operated, and/or managed by the TikTok

Defendants.

       104.    Plaintiff is not seeking to hold the TikTok Defendants liable for the as the speaker

or publisher of third-party content and instead intends to hold the TikTok Defendants responsible

for their own independent conduct as the designers, programmers, manufacturers, sellers, and/or

distributors of their dangerously defective TikTok app and algorithm. Thus, Plaintiffs claims fall

outside of any potential protections afforded by Section 230(c) of the Communications Decency

Act.

       105.    The TikTok Defendants, by and through their agents, servants, workers,

contractors, designers, developers, programmers, manufacturers, sellers, marketers, suppliers,

distributors, subsidiaries, sister corporations, parent companies, successor corporations and/or

predecessor corporations, are strictly liable under § 402A of the Restatement (Second) of Torts

because:

               a.     Defendants are engaged in the business of designing, developing,
                      programming, manufacturing, selling, marketing, supplying, and/or
                      distributing app products and algorithms, like the TikTok app and its
                      associated algorithm;
               b.     The TikTok app and algorithm which caused Plaintiff’s decedent’s death
                      and injuries was designed, created, programmed, developed, marketed, and
                      placed in the general stream of commerce by Defendants;
               c.     The TikTok app and algorithm was expected to and did reach users such as
                      Nylah Anderson without substantial change in the condition in which it was


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                      designed, developed, programmed, manufactured, marketed, distributed
                      and/or sold;
              d.      The TikTok app and algorithm was designed, developed, programmed,
                      manufactured, marketed, distributed and/or sold in the defective
                      condition(s) for the reasons set forth herein.

       106.   The TikTok app and its algorithm were in a defective condition as: (1) the danger

contained therein is unknowable and unacceptable to the average or ordinary consumer; and/or (2)

a reasonable person would conclude that the probability and seriousness of the harm caused by the

subject product outweigh the burden or costs of taking precautions.

       107.   The TikTok Defendants, by and through their agents, servants, workers,

contractors, designers, developers, programmers, manufacturers, sellers, marketers, suppliers,

distributors, subsidiaries, sister corporations, parent companies, successor corporations and/or

predecessor corporations, are strictly liable under § 402A of the Restatement (Second) of Torts,

by:

              a.      Designing, developing, programming, manufacturing, selling, supplying,
                      and/or distributing a product (the TikTok app and its algorithm) in a
                      defective condition;
              b.      Designing, developing, programming, manufacturing, selling, supplying,
                      and/or distributing a product (the TikTok app and its algorithm) without
                      adequate warnings;
              c.      Designing, developing, programming, manufacturing, selling, supplying,
                      and/or distributing a product (the TikTok app and its algorithm) without
                      adequate parental control features;
              d.      Designing, developing, programming, manufacturing, selling, supplying,
                      and/or distributing a product (the TikTok app and its algorithm) that was
                      not equipped, programmed with, or developed with the necessary
                      safeguards required to prevent circulation of dangerous and deadly videos,
                      including but not limited to the Blackout Challenge;
              e.      Designing, developing, programming, manufacturing, selling, supplying,
                      and/or distributing a product (the TikTok app and its algorithm) that was
                      not equipped, programmed with, or developed with the necessary
                      safeguards required to prevent circulation of dangerous and deadly videos,
                      including but not limited to the Blackout Challenge despite knowing that a
                      failure to equip, program, or develop the app and algorithm with such


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         safeguards would result in severe injury and/or death to users, including
         children;
    f.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that was
         intended to addict users and manipulate them into participating in dangerous
         and deadly challenges, including but not limited to the Blackout Challenge;
    g.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that was
         intended to addict users and manipulate them into participating in dangerous
         and deadly challenges, including but not limited to the Blackout Challenge
         despite knowing that this would lead to severe injuries and/or death to users,
         including children;
    h.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that was
         intended to addict users;
    i.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that preyed
         upon the vulnerability of children;
    j.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that was
         intended to manipulate and/or encourage maximum engagement and/or
         participation by users;
    k.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that
         recommended inappropriate, dangerous, and deadly videos to users,
         including but not limited to the Blackout Challenge, through users’ FYP;
    l.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) which
         lacked all the necessary safety features to protect users, including Nylah
         Anderson;
    m.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) for which
         the risks of use far outweighed the utility thereof;
    n.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that was
         unreasonably dangerous for its intended and foreseeable uses and/or
         misuses and to its intended and foreseeable users, including Nylah
         Anderson;
    o.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that
         promoted the circulation of dangerous and deadly videos and challenges,
         including but not limited to the Blackout Challenge;

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    p.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that was
         incapable of preventing the circulation of dangerous and deadly videos and
         challenges, including but not limited to the Blackout Challenge;
    q.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that
         recommended dangerous and deadly videos and challenges, including but
         not limited to the Blackout Challenge, to young children, including Nylah
         Anderson;
    r.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that
         recommended dangerous and deadly videos and challenges, including but
         not limited to the Blackout Challenge, to young children, including Nylah
         Anderson despite knowing that this would lead to severe injury and/or
         death;
    s.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that was
         not safe for its intended and represented purposes;
    t.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that
         intentionally creates user addiction;
    u.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that
         presents inappropriate, dangerous and/or deadly videos and challenges on
         users’ FYP, including Nylah Anderson’s FYP;
    v.   Despite having actual knowledge of dangerous and deadly videos and
         challenges, including but not limited to the Blackout Challenge, circulating
         its app and platform and said videos and challenges causing serious injuries
         and/or deaths, failing to assess the risks of the product and adopt available,
         reasonable, and feasible alternatives;
    w.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that lacked
         all the necessary safety features to protect users, including Nylah Anderson;
    x.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that
         malfunctioned by recommending dangerous and deadly videos and
         challenges, including but not limited to the Blackout Challenge, to users,
         including children like Nylah Anderson;
    y.   Failing to warn users of the risks associated with the product (the TikTok
         app and its algorithm);




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                z.      Failing to warn users of the risks associated with dangerous and deadly
                        videos and challenges circulating the TikTok app and recommended to
                        users, including Nylah Anderson, through their FYP;
                aa.     Designing, developing, programming, manufacturing, selling, supplying,
                        and/or distributing a product (the TikTok app and its algorithm) the risks
                        and hazards of which far outweighed any utility or benefit of the product
                        (i.e. in violation of the risk-utility test);
                bb.     Designing, developing, programming, manufacturing, selling, supplying,
                        and/or distributing a product (the TikTok app and its algorithm) that lacked
                        reasonable, available, and feasible alternative designs that would have made
                        the product safer for users, including Nylah Anderson; and
                cc.     Designing, developing, programming, manufacturing, selling, supplying,
                        and/or distributing a product (the TikTok app and its algorithm) the risks of
                        which were unknown or unknowable to the consumer (i.e., in violation of
                        the consumer expectations test).

        108.    By conducting themselves as set forth above, the TikTok Defendants’ acts and/or

omissions were a substantial factor in, a factual cause of, and/or increased the risk of harm that

caused Plaintiff’s decedent’s injuries and death.

        109.    By reason of the breach of duties, pursuant to § 402A of the Restatement (Second)

of Torts, by the TikTok Defendants, by and through their agents, servants, workers, contractors,

designers, developers, programmers, manufacturers, sellers, marketers, suppliers, distributors,

subsidiaries, sister corporations, parent companies, successor corporations and/or predecessor

corporations, Nylah Anderson was caused to sustain severe and permanent disabling injuries

resulting in her death as set forth above.

        110.    The TikTok Defendants designed, developed, programmed, manufactured, sold,

marketed, supplied, and/or distributed a product (the TikTok app and its algorithm) the risks and

hazards of which far outweighed its utility or benefit, thus violating the risk-utility test set forth in

Tincher v. Omega Flex, Inc., 104 A.3d 328 (Pa. 2014) and its progeny, as well as Restatement

(Second) of Torts § 402A.




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        111.   The TikTok Defendants designed, developed, programmed, manufactured, sold,

marketed, supplied, and/or distributed a product (the TikTok app and its algorithm) the risks of

which were unknown or unknowable to the consumer and for which the consumer would not

reasonably anticipate or appreciate the dangerous condition in violation of the consumer

expectations test set forth in Tincher, 104 A.3d 328 and its progeny, as well as Restatement

(Second) of Torts § 402A.

        112.   The safety of the public and the users of the TikTok app, particularly children, must

come first and be the paramount concern and consideration in the design, development,

programming, supply, and distribution of Defendants’ app and algorithm.

        113.   Outrageously, the TikTok Defendants knowingly exposed the public and innocent

children, including Nylah Anderson, to addiction, manipulation, and control causing them to

promote, engage, and participate in dangerous and deadly videos and challenges, including but not

limited to the Blackout Challenge, all in the name of greater corporate profits.

        114.   The TikTok Defendants knew that dangerous and deadly videos and challenges,

including but not limited to the Blackout Challenge, were circulating its app and being

recommended to users by the Defendants’ algorithm on users’ FYP.

        115.   The TikTok Defendants knew that children were dying from attempting to

participate in dangerous and deadly videos and challenges, including but not limited to the

Blackout Challenge, that Defendants’ algorithm was recommending to them through the children’s

FYPs.

        116.   The TikTok Defendants outrageously prioritized revenues and profits over the

health and safety of its users, particularly children like Nylah Anderson.

        WHEREFORE, Plaintiff, Tawainna Anderson, Individually and as Administratrix of the



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Estate of Nylah Anderson, a deceased minor, claims of Defendants, TikTok Inc. and ByteDance

Inc., jointly and severally, sums in excess of the jurisdictional threshold in compensatory damages,

punitive damages, delay damages, interest and allowable costs of suit and brings this action to

recover same.

                                  COUNT II – NEGLIGENCE

    TAWAINNA ANDERSON, Individually and as Administratrix of the ESTATE OF
         NYLAH ANDERSON v. TIKTOK INC. AND BYTEDANCE INC.

       117.     Plaintiff hereby incorporates by reference each and every allegation contained in

the preceding paragraphs the same as though fully set forth herein.

       118.     The TikTok Defendants had a duty to design, develop, program, manufacture,

distribute, sell, supply, and/or operate their app and algorithm such that it did not expose users to

harm, injury, and/or death.

       119.     The TikTok Defendants had a duty to monitor the videos and challenges shared,

posted, and/or circulated on their app and platform to ensure that dangerous and deadly videos and

challenges were not posted, shared, circulated, recommended, and/or encouraged.

       120.     The TikTok Defendants had a duty to monitor and evaluate the performance of their

algorithm and ensure that it was not recommending or posting dangerous and deadly videos and

challenges, including but not limited to the Blackout Challenge, to users’ FYP.

       121.     The TikTok Defendants had a duty to employ and train personnel to appropriately

and reasonably respond to notice that dangerous and deadly videos and challenges were being

posted, shared, and/or circulated on Defendants’ app.

       122.     The TikTok Defendants had a duty to protect vulnerable users of their product,

specifically children like Nylah Anderson.




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       123.    The TikTok Defendants had a duty to design, develop, program, manufacture,

distribute, sell, supply, and/or operate their app and algorithm such that it did not manipulate users

and/or otherwise encourage them to engage in dangerous and potentially deadly videos and

challenges.

       124.    The TikTok Defendants had a duty to design, develop, program, manufacture,

distribute, sell, supply, and/or operate their app and algorithm that did not create addiction and

dependence among its users.

       125.    The TikTok Defendants miserably failed these aforementioned duties and as a

result Nylah Anderson was killed.

       126.    Plaintiff does not seek to hold the TikTok Defendants liable as the speaker or

publisher of third-party content and instead intends to hold the TikTok Defendants responsible for

their own independent conduct as the designers, programmers, manufacturers, sellers, and/or

distributors of their dangerously defective social media products and for their own independent

acts of negligence, gross negligence, carelessness, recklessness, and willful and wanton conduct

as further described herein. Thus, Plaintiffs claims fall outside of any potential protections

afforded by Section 230(c) of the Communications Decency Act.

       127.    The injuries, damages and losses suffered by Plaintiff and Plaintiff’s decedent,

Nylah Anderson, and her beneficiaries, as more fully set forth herein, were caused by the

negligence, gross negligence, carelessness, recklessness, willful and wanton conduct of the TikTok

Defendants, by and through their agents, servants, workers, contractors, designers, developers,

programmers, manufacturers, sellers, marketers, suppliers, distributors, subsidiaries, sister

corporations, parent companies, successor corporations and/or predecessor corporations, both

generally and in the following particular respects:



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    a.   Recommending and/or posting dangerous and deadly videos and
         challenges, including but not limited to the Blackout Challenge, to users’
         FYP, including Nylah Anderson’s FYP;
    b.   Allowing dangerous and deadly videos and challenges, including but not
         limited to the Blackout Challenge, to be posted, shared, and/or circulated to
         users on the TikTok app;
    c.   Creating an algorithm that recommended and/or posted dangerous and
         deadly videos and challenges, including but not limited to the Blackout
         Challenge, to 10-year-old Nylah Anderson’s FYP;
    d.   Failing to prevent dangerous and deadly videos and challenges, including
         but not limited to the Blackout Challenge, from being posted, shared, and/or
         circulated to users on the TikTok app despite being actually aware of said
         videos and challenges and despite knowing that such a failure would expose
         users, including children like Nylah Anderson, to the unreasonable and
         unacceptable risk of severe injury and/or death;
    e.   Intentionally addicting users to the TikTok app;
    f.   Intentionally addicting users to the TikTok app for the goal of increasing
         corporate revenues and profits;
    g.   Manipulating and socially programming users, including Nylah Anderson,
         into posting, engaging in, and participating in dangerous videos and
         challenges, including but not limited to the Blackout Challenge;
    h.   Creating a digital environment in which the risks of dangerous videos and
         challenges, including but not limited to the Blackout Challenge, are hidden
         and/or downplayed and in which users are encouraged to participate in
         dangerous videos and challenges;
    i.   Failing to timely remove all dangerous and deadly videos and challenges
         from its app, including but not limited to the Blackout Challenge;
    j.   Hiring and/or employing personnel who were unfit, untrained, and/or
         incapable of operating and/or managing the TikTok app and its algorithm
         to ensure that dangerous and potentially deadly videos and challenges were
         not posted, shared, or circulated to users on the app;
    k.   Failing to adequately train, educate, and/or supervise its employees,
         contractors, agents, and/or servants such that they were capable of
         operating and/or managing the TikTok app and its algorithm to ensure that
         dangerous and potentially deadly videos and challenges were not posted,
         shared, or circulated to users on the app;
    l.   Failing to remove dangerous and deadly videos and challenges from the
         TikTok app despite knowing that users were being encouraged to engage in
         dangerous and deadly actions and despite knowing that users were being
         exposed to and actually suffering severe injury and death, including
         children such as Nylah Anderson;


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    m.   Manipulating and socially programming users, including children like
         Nylah Anderson, to engage in certain desired activities and engagement on
         the TikTok app in order to maximize corporate revenues and profits;
    n.   Developing, enacting, promulgating, and enforcing policies and procedures
         which allowed dangerous and deadly videos and challenges, including but
         not limited to the Blackout Challenge, to be posted, shared, and circulated
         on the app;
    o.   Developing, enacting, promulgating, and enforcing policies and procedures
         which prevented the discovery of dangerous and deadly videos and
         challenges, including but not limited to the Blackout Challenge, that were
         being posted, shared, and circulated to users on the app;
    p.   Developing, enacting, promulgating, and enforcing policies and procedures
         which prevented the timely takedown of dangerous and deadly videos and
         challenges, including but not limited to the Blackout Challenge;
    q.   Developing, enacting, promulgating, and enforcing policies and procedures
         which resulted in dangerous and deadly videos, including but not limited to
         the Blackout Challenge, being recommended to users through their FYP;
    r.   Failing to prevent videos of the Blackout Challenge from being posted,
         shared, circulated, and/or recommended to users, including Nylah
         Anderson, through their FYP despite knowing that multiple people,
         including children, had been killed after attempting to participate in the
         challenge they had seen and/or were recommended on the TikTok app;
    s.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) in a
         defective condition;
    t.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) without
         adequate warnings;
    u.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that was
         not equipped, programmed with, or developed with the necessary
         safeguards required to prevent circulation of dangerous and deadly videos,
         including but not limited to the Blackout Challenge;
    v.   Designing, developing, programming, manufacturing, selling, supplying,
         and/or distributing a product (the TikTok app and its algorithm) that was
         not equipped, programmed with, or developed with the necessary
         safeguards required to prevent circulation of dangerous and deadly videos,
         including but not limited to the Blackout Challenge despite knowing that a
         failure to equip, program, or develop the app and algorithm with such
         safeguards would result in severe injury and/or death to users, including
         children;



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    w.    Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that was
          intended to addict users and manipulate them into participating in dangerous
          and deadly challenges, including but not limited to the Blackout Challenge;
    x.    Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that was
          intended to addict users and manipulate them into participating in dangerous
          and deadly challenges, including but not limited to the Blackout Challenge
          despite knowing that this would lead to severe injuries and/or death to users,
          including children;
    y.    Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that was
          intended to addict users;
    z.    Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that preyed
          upon the vulnerability of children;
    aa.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that was
          intended to manipulate and/or encourage maximum engagement and/or
          participation by users;
    bb.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that
          recommended inappropriate, dangerous, and deadly videos to users,
          including but not limited to the Blackout Challenge, through users’ FYP;
    cc.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) which
          lacked all the necessary safety features to protect users, including Nylah
          Anderson;
    dd.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) for which
          the risks of use far outweighed the utility thereof;
    ee.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that was
          unreasonably dangerous for its intended and foreseeable uses and/or
          misuses and to its intended and foreseeable users, including Nylah
          Anderson;
    ff.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that
          promoted the circulation of dangerous and deadly videos and challenges,
          including but not limited to the Blackout Challenge;
    gg.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that was

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          incapable of preventing the circulation of dangerous and deadly videos and
          challenges, including but not limited to the Blackout Challenge;
    hh.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that
          recommended dangerous and deadly videos and challenges, including but
          not limited to the Blackout Challenge, to young children, including Nylah
          Anderson;
    ii.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that
          recommended dangerous and deadly videos and challenges, including but
          not limited to the Blackout Challenge, to young children, including Nylah
          Anderson despite knowing that this would lead to severe injury and/or
          death;
    jj.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that was
          not safe for its intended and represented purposes;
    kk.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that
          intentionally creates user addiction;
    ll.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that
          presents inappropriate, dangerous and/or deadly videos and challenges on
          users’ FYP, including Nylah Anderson’s FYP;
    mm.   Despite having actual knowledge of dangerous and deadly videos and
          challenges, including but not limited to the Blackout Challenge, circulating
          its app and platform and said videos and challenges causing serious injuries
          and/or deaths, failing to assess the risks of the product and adopt available,
          reasonable, and feasible alternatives;
    nn.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that lacked
          all the necessary safety features to protect users, including Nylah Anderson;
    oo.   Designing, developing, programming, manufacturing, selling, supplying,
          and/or distributing a product (the TikTok app and its algorithm) that
          malfunctioned by recommending dangerous and deadly videos and
          challenges, including but not limited to the Blackout Challenge, to users,
          including children like Nylah Anderson;
    pp.   Failing to warn users of the risks associated with the product (the TikTok
          app and its algorithm);
    qq.   Failing to warn users of the risks associated with dangerous and deadly
          videos and challenges circulating the TikTok app and recommended to
          users, including Nylah Anderson, through their FYP;


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       128.    By conducting themselves as set forth above, the TikTok Defendants’ acts and/or

omissions were a substantial factor in, a factual cause of, and/or increased the risk of harm that

caused Plaintiff’s decedent’s injuries and death.

       129.    By reason of the TikTok Defendants’ carelessness, negligence, gross negligence,

recklessness, and willful and wanton conduct, by and through their agents, servants, workers,

contractors, designers, developers, programmers, manufacturers, sellers, marketers, suppliers,

distributors, subsidiaries, sister corporations, parent companies, successor corporations and/or

predecessor corporations, Nylah Anderson was caused to sustain severe and permanent disabling

injuries resulting in her death as set forth above.

       130.    The safety of the public and the users of the TikTok app, particularly children, must

come first and be the paramount concern and consideration in the design, development,

programming, supply, and distribution of Defendants’ app and algorithm as well as in the

operation, oversight, supervision, and management of the app and algorithm and the content

available, posted, shared, and/or recommended to users on the app.

       131.    Outrageously, the TikTok Defendants knowingly exposed the public and innocent

children, including Nylah Anderson, to addiction, manipulation, and control causing them to

promote, engage, and participate in dangerous and deadly videos and challenges, including but not

limited to the Blackout Challenge, all in the name of greater corporate profits.

       132.    The TikTok Defendants knew that dangerous and deadly videos and challenges,

including but not limited to the Blackout Challenge, were circulating its app and being

recommended to users by the Defendants’ algorithm on users’ FYP but failed to take appropriate,

reasonable, timely, and necessary remedial actions.




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       133.     The TikTok Defendants knew that children were dying from attempting to

participate in dangerous and deadly videos and challenges, including but not limited to the

Blackout Challenge, that Defendants’ algorithm was recommending to them through the children’s

FYPs but failed to take appropriate, reasonable, timely, and necessary remedial actions.

       134.     The TikTok Defendants outrageously prioritized revenues and profits over the

health and safety of its users, particularly children like Nylah Anderson.

       WHEREFORE, Plaintiff, Tawainna Anderson, Individually and as Administratrix of the

Estate of Nylah Anderson, a deceased minor, claims of Defendants, TikTok Inc. and ByteDance

Inc., jointly and severally, sums in excess of the jurisdictional threshold in compensatory damages,

punitive damages, delay damages, interest and allowable costs of suit and brings this action to

recover same.

 COUNT III – VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES
          AND CONSUMER PROTECTION LAW, 73 P.S. §§ 201-1, et seq.

    TAWAINNA ANDERSON, Individually and as Administratrix of the ESTATE OF
         NYLAH ANDERSON v. TIKTOK INC. AND BYTEDANCE INC.

       135.     Plaintiff hereby incorporates by reference each and every allegations contained in

the preceding paragraphs the same as though fully set forth herein.

       136.     At all times relevant hereto, the TikTok Defendants intended and expected their

product (the TikTok app and its algorithm) to be deployed, marketed, sold, and used in the

Commonwealth of Pennsylvania.

       137.     At all times relevant hereto, the TikTok Defendants were persons within the

meaning of 73 P.S. § 201-2(2).

       138.     The Pennsylvania Unfair Trade Practices and Consumer Protection Law

(“UTPCPL”) at § 201-9.2(a) provides that “[a]ny person who purchases or leases goods or services



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primarily for personal, family or household purposes and thereby suffers any ascertainable loss of

money or property, real and personal, as a result of the use or employment by any person of a

method, act or practice declared unlawful by section 3 [(73 P.S. § 201-3)] of this act, may bring a

private action to recover actual damages[.]” 73 P.S. § 201-9.2(a).

       139.    The UTPCPL makes unlawful “unfair methods of competition and unfair or

deceptive acts or practices in the conduct of any trade or commerce.” 73 P.S. § 201-3.

       140.    At all times relevant hereto, the TikTok Defendants had both constructive and

actual knowledge that when Defendants’ products were used in a manner that was intended or

directed by or reasonably foreseeable to, and was known to or foreseen by, Defendants they were

used by consumers, including children, to engage in risky and dangerous activities that were

promoted and disseminated by Defendants’ products which sought to encourage such engagement

and it was likely that significant injuries, including death, would occur.

       141.    At all times relevant hereto, the TikTok Defendants had both constructive and

actual knowledge that Defendants app and algorithm were resulting in dangerous videos being

shown to users, including children, and that the app and algorithm were encouraging users to

engage in risky and dangerous activities that were likely to cause significant injuries, including

death, despite these dangers being concealed from said consumers and despite the Defendants’

products being marketed and sold as safe.

       142.    From the first date on which the TikTok Defendants placed their products (the

TikTok app and its algorithm) into the stream of commerce for use in the Commonwealth of

Pennsylvania through the date of Nylah Anderson’s death, Defendants engaged in unfair or

deceptive acts or practices, in violation of the UTPCPL, including but not limited to deception,

fraud, false pretense, false promise, misrepresentation or the concealment, suppression, or



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omission of material facts, in designing, developing, programming, manufacturing, selling,

marketing, supplying, and/or distributing Defendants’ products for use in the Commonwealth of

Pennsylvania in that Defendants:

              a.     concealed, suppressed, or omitted to disclose that Defendants’ products
                     were designed and intended to addict users;
              b.     concealed, suppressed, or omitted to disclose that Defendants’ products
                     carried a risk of addiction and dependence;
              c.     concealed, suppressed, or omitted to disclose that Defendants’ products
                     were designed and intended to urge and/or compel users to spend as much
                     time as possible on the TikTok app;
              d.     concealed, suppressed, or omitted to disclose that Defendants’ products
                     would expose users to videos and challenges which encouraged, promoted,
                     and/or prompted users, including children, to engage in risky and dangerous
                     activities;
              e.     concealed, suppressed, or omitted to disclose that Defendants’ products
                     were not safe or suitable for use by children;
              f.     concealed, suppressed, or omitted to disclose that the risk and dangerous
                     videos and challenges shown to users by Defendants’ products would result
                     in severe injury and/or death;
              g.     concealed, suppressed, or omitted to disclose that Defendants’ products
                     would reward users for engaging in risky and dangerous activities;
              h.     concealed, suppressed, or omitted to disclose that Defendants’ products,
                     namely the app’s algorithm, had not been adequately developed, refined,
                     and/or tested to ensure that dangerous and risky videos and challenges
                     would not be disseminated or promoted on the app or otherwise shown to
                     users;
              i.     concealed, suppressed, or omitted to disclose that Defendants’ products,
                     namely the app’s algorithm, had not been adequately developed, refined,
                     and/or tested to ensure that children and other vulnerable users were not
                     shown videos or challenges which encouraged and/or prompted said users
                     to engage in dangerous activities or which otherwise created a system which
                     rewarded users for engaging in said dangerous activities; and
              j.     concealed, suppressed, or omitted to disclose that Defendants’ corporate
                     profits depended on user addiction and maximizing a user’s time spent on
                     and engaging in the Defendants’ products.

       143.   These acts and practices of the TikTok Defendants and those with whom they were

acting in concert in designing, developing, programming, manufacturing, distributing, selling,


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supplying, and/or operating their products (the TikTok app and its algorithm) for sale and use in

the Commonwealth of Pennsylvania were unfair because they offended public policy, were

immoral, unethical, oppressive, and unscrupulous, and caused substantial injury to consumers,

including Plaintiff’s decedent Nylah Anderson, her estate, and her beneficiaries.

       144.    These acts and practices of the TikTok Defendants in designing, developing,

programming, manufacturing, distributing, selling, supplying, and/or operating their products (the

TikTok app and its algorithm) for sale and use in the Commonwealth of Pennsylvania offended

the clearly stated public policy of the Commonwealth of Pennsylvania.

       145.    These acts and practices of the TikTok Defendants in designing, developing,

programming, manufacturing, distributing, selling, supplying, and/or operating their products (the

TikTok app and its algorithm) for sale and use in the Commonwealth of Pennsylvania were

immoral and unethical, as they served only to financially benefit Defendants at the expense of the

health and safety of users of the Defendants’ products, including Nylah Anderson.

       146.    These acts and practices of the TikTok Defendants in designing, developing,

programming, manufacturing, distributing, selling, supplying, and/or operating their products (the

TikTok app and its algorithm) for sale and use in the Commonwealth of Pennsylvania were likely

to cause substantial injury and/or death to users, including Nylah Anderson, by exposing them to

and encouraging them to engage in activities which posed unnecessary and unreasonable risks to

their health and safety.

       147.    These acts and practices of the TikTok Defendants in designing, developing,

programming, manufacturing, distributing, selling, supplying, and/or operating their products (the

TikTok app and its algorithm) for sale and use in the Commonwealth of Pennsylvania were likely

to cause, and did cause, substantial injury and/or death to users of Defendants’ products, including



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Nylah Anderson, in that but for these acts and practices, Defendants’ products would not have

been downloaded, purchased, and/or used in Pennsylvania and persons who used them, including

Nylah Anderson, would not have been injured or killed by said use.

       148.    These acts and practices of the TikTok Defendants in designing, developing,

programming, manufacturing, distributing, selling, supplying, and/or operating their products (the

TikTok app and its algorithm) for sale and use in the Commonwealth of Pennsylvania committed

these acts and engaged in these practices in conscious disregard of the safety of others and their

users, including Nylah Anderson.

       149.    The injuries caused by the TikTok Defendants’ acts and practices in designing,

developing, programming, manufacturing, distributing, selling, supplying, and/or operating their

products (the TikTok app and its algorithm) for sale and use in the Commonwealth of

Pennsylvania—namely, users’ injuries and damages (including monetary losses)—are not

outweighed by any countervailing benefit to consumers or competition.

       150.    The TikTok Defendants intended that purchasers and/or users of their products use

them in reliance on these unfair and deceptive acts and practices.

       151.    The facts that the TikTok Defendants concealed, suppressed, and/or omitted to

disclose were material to the decisions to use Defendants’ products, and Plaintiff’s decedent would

not have used said products had these facts been disclosed.

       152.    The TikTok Defendants’ unfair and deceptive acts and practices occurred in

connection with their conduct of trade and commerce in the Commonwealth of Pennsylvania.

       153.    The TikTok Defendants’ unfair and deceptive acts and practices of the TikTok

Defendants violated the UTPCPL.




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          154.   The TikTok Defendants committed these unfair and deceptive practices knowing

they created a substantial risk of harm to those who used Defendants’ products in the

Commonwealth of Pennsylvania.

          155.   As a direct and proximate result of the TikTok Defendants’ violations of the

UTPCPL, Plaintiff’s decedent, Nylah Anderson, suffered grievous injury and died and Nylah

Anderson and her estate and beneficiaries suffered all of the damages discussed and claimed

herein.

          WHEREFORE, Plaintiff, Tawainna Anderson, Individually and as Administratrix of the

Estate of Nylah Anderson, a deceased minor, claims of Defendants, TikTok Inc. and ByteDance

Inc., jointly and severally, sums in excess of the jurisdictional threshold in damages recoverable

under the Pennsylvania Unfair Trade Practices and Consumer Protection Law, as well as,

compensatory damages, punitive damages, delay damages, interest and allowable costs of suit and

brings this action to recover same.

 COUNT IV – VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES
                      ACT, CAL. CIV. § 1750, et seq.

    TAWAINNA ANDERSON, Individually and as Administratrix of the ESTATE OF
         NYLAH ANDERSON v. TIKTOK INC. AND BYTEDANCE INC.

          156.   Plaintiff hereby incorporates by reference each and every allegations contained in

the preceding paragraphs the same as though fully set forth herein.

          157.   As corporations or other business entities headquartered in and operating out of the

State of California, the TikTok Defendants were required to comply with the California Consumer

Legal Remedies Act, Cal. Civ. § 1750, et seq.




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        158.    At all times relevant hereto, the TikTok Defendants intended and expected that their

products (the TikTok app and its algorithm) would be marketed, sold, downloaded, and/or used in

the State of California.

        159.    The TikTok Defendants designed, developed, programmed, manufactured,

distributed, sold, supplied, and/or operated their products for sale and use in the U.S., including

California.

        160.    At all times relevant hereto, the TikTok Defendants were persons within the

meaning of Cal. Civ. Code § 1761(c).

        161.    At all times relevant hereto, Nylah Anderson was a consumer within the meaning

of Cal. Civ. Code § 1761(d).

        162.    The California Consumer Legal Remedies Act, Cal. Civ. § 1770(a)(5); (7), provides

in pertinent part:

        The following unfair methods of competition and unfair or deceptive acts or
        practices undertaken by any person in a transaction intended to result or that results
        in the sale or lease of goods or services to any consumer are unlawful: Representing
        that goods or services have sponsorship, approval, characteristics, ingredients, uses,
        benefits, or quantities that they do not have or that a person has a sponsorship,
        approval, status, affiliation, or connection that he or she does not have […]
        Representing that goods or services are of a particular standard, quality, or grade,
        or that goods are of a particular style or model, if they are another.
        163.    At all times relevant hereto, the TikTok Defendants had both constructive and

actual knowledge that when Defendants’ products were used in a manner that was intended or

directed by or reasonably foreseeable to, and was known to or foreseen by, Defendants they were

used by consumers, including children, to engage in risky and dangerous activities that were

promoted and disseminated by Defendants’ products which sought to encourage such engagement

and it was likely that significant injuries, including death, would occur.




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       164.    At all times relevant hereto, the TikTok Defendants had both constructive and

actual knowledge that Defendants app and algorithm were resulting in dangerous videos being

shown to users, including children, and that the app and algorithm were encouraging users to

engage in risky and dangerous activities that were likely to cause significant injuries, including

death, despite these dangers being concealed from said consumers and despite the Defendants’

products being marketed and sold as safe.

       165.    From the first date on which the TikTok Defendants placed their products (the

TikTok app and its algorithm) into the stream of commerce for use in California through the date

of Nylah Anderson’s death, Defendants engaged in unfair or deceptive acts or practices, in

violation of the California Consumer Legal Remedies Act, including but not limited to deception,

fraud, false pretense, false promise, misrepresentation or the concealment, suppression, or

omission of material facts, in designing, developing, programming, manufacturing, selling,

marketing, supplying, and/or distributing Defendants’ products for use in California and elsewhere

in the U.S., in that Defendants:

               a.      concealed, suppressed, or omitted to disclose that Defendants’ products
                       were designed and intended to addict users;
               b.      concealed, suppressed, or omitted to disclose that Defendants’ products
                       carried a risk of addiction and dependence;
               c.      concealed, suppressed, or omitted to disclose that Defendants’ products
                       were designed and intended to urge and/or compel users to spend as much
                       time as possible on the TikTok app;
               d.      concealed, suppressed, or omitted to disclose that Defendants’ products
                       would expose users to videos and challenges which encouraged, promoted,
                       and/or prompted users, including children, to engage in risky and dangerous
                       activities;
               e.      concealed, suppressed, or omitted to disclose that Defendants’ products
                       were not safe or suitable for use by children;
               f.      concealed, suppressed, or omitted to disclose that the risk and dangerous
                       videos and challenges shown to users by Defendants’ products would result
                       in severe injury and/or death;

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               g.      concealed, suppressed, or omitted to disclose that Defendants’ products
                       would reward users for engaging in risky and dangerous activities;
               h.      concealed, suppressed, or omitted to disclose that Defendants’ products,
                       namely the app’s algorithm, had not been adequately developed, refined,
                       and/or tested to ensure that dangerous and risky videos and challenges
                       would not be disseminated or promoted on the app or otherwise shown to
                       users;
               i.      concealed, suppressed, or omitted to disclose that Defendants’ products,
                       namely the app’s algorithm, had not been adequately developed, refined,
                       and/or tested to ensure that children and other vulnerable users were not
                       shown videos or challenges which encouraged and/or prompted said users
                       to engage in dangerous activities or which otherwise created a system which
                       rewarded users for engaging in said dangerous activities; and
               j.      concealed, suppressed, or omitted to disclose that Defendants’ corporate
                       profits depended on user addiction and maximizing a user’s time spent on
                       and engaging in the Defendants’ products.

       166.    These acts and practices of the TikTok Defendants and those with whom they were

acting in concert in designing, developing, programming, manufacturing, distributing, selling,

supplying, and/or operating their products (the TikTok app and its algorithm) for sale and use in

California, and elsewhere in the U.S., were unfair because they offended public policy, were

immoral, unethical, oppressive, and unscrupulous, and caused substantial injury to consumers,

including Plaintiff’s decedent Nylah Anderson, her estate, and her beneficiaries.

       167.    These acts and practices of the TikTok Defendants in designing, developing,

programming, manufacturing, distributing, selling, supplying, and/or operating their products (the

TikTok app and its algorithm) for sale and use in California, and elsewhere in the U.S., offended

the clearly stated public policy of California.

       168.    These acts and practices of the TikTok Defendants in designing, developing,

programming, manufacturing, distributing, selling, supplying, and/or operating their products (the

TikTok app and its algorithm) for sale and use in California, and elsewhere in the U.S., were




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immoral and unethical, as they served only to financially benefit Defendants at the expense of the

health and safety of users of the Defendants’ products, including Nylah Anderson.

       169.    These acts and practices of the TikTok Defendants in designing, developing,

programming, manufacturing, distributing, selling, supplying, and/or operating their products (the

TikTok app and its algorithm) for sale and use in California, and elsewhere in the U.S., were likely

to cause substantial injury and/or death to users, including Nylah Anderson, by exposing them to

and encouraging them to engage in activities which posed unnecessary and unreasonable risks to

their health and safety.

       170.    These acts and practices of the TikTok Defendants in designing, developing,

programming, manufacturing, distributing, selling, supplying, and/or operating their products (the

TikTok app and its algorithm) for sale and use in California, and elsewhere in the U.S., were likely

to cause, and did cause, substantial injury and/or death to users of Defendants’ products, including

Nylah Anderson, in that but for these acts and practices, Defendants’ products would not have

been downloaded, purchased, and/or used in Pennsylvania and persons who used them, including

Nylah Anderson, would not have been injured or killed by said use.

       171.    These acts and practices of the TikTok Defendants in designing, developing,

programming, manufacturing, distributing, selling, supplying, and/or operating their products (the

TikTok app and its algorithm) for sale and use in California, and elsewhere in the U.S., committed

these acts and engaged in these practices in conscious disregard of the safety of others and their

users, including Nylah Anderson.

       172.    The injuries caused by the TikTok Defendants’ acts and practices in designing,

developing, programming, manufacturing, distributing, selling, supplying, and/or operating their

products (the TikTok app and its algorithm) for sale and use in California, and elsewhere in the



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U.S.—namely, users’ injuries and damages (including monetary losses)—are not outweighed by

any countervailing benefit to consumers or competition.

       173.    The TikTok Defendants intended that purchasers and/or users of their products use

them in reliance on these unfair and deceptive acts and practices.

       174.    The facts that the TikTok Defendants concealed, suppressed, and/or omitted to

disclose were material to the decisions to use Defendants’ products, and Plaintiff’s decedent would

not have used said products had these facts been disclosed.

       175.    The TikTok Defendants’ unfair and deceptive acts and practices occurred in

connection with their conduct of trade and commerce in California, and elsewhere in the U.S.

       176.    The TikTok Defendants’ unfair and deceptive acts and practices of the TikTok

Defendants violated the California Consumer Legal Remedies Act.

       177.    The TikTok Defendants committed these unfair and deceptive practices knowing

they created a substantial risk of harm to those who used Defendants’ products in California, and

elsewhere in the U.S.

       178.    As a direct and proximate result of the TikTok Defendants’ violations of the

California Consumer Legal Remedies Act, Plaintiff’s decedent, Nylah Anderson, suffered

grievous injury and died and Nylah Anderson and her estate and beneficiaries suffered all of the

damages discussed and claimed herein.

       WHEREFORE, Plaintiff, Tawainna Anderson, Individually and as Administratrix of the

Estate of Nylah Anderson, a deceased minor, claims of Defendants, TikTok Inc. and ByteDance

Inc., jointly and severally, sums in excess of the jurisdictional threshold in damages recoverable

under the California Consumer Legal Remedies Act, as well as, compensatory damages, punitive

damages, delay damages, interest and allowable costs of suit and brings this action to recover same.



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                               COUNT V – WRONGFUL DEATH

    TAWAINNA ANDERSON, Individually and as Administratrix of the ESTATE OF
         NYLAH ANDERSON v. TIKTOK INC. AND BYTEDANCE INC.

       179.    Plaintiff hereby incorporates by reference each and every allegations contained in

the preceding paragraphs the same as though fully set forth herein.

       180.    Decedent, Nylah Anderson’s known potential wrongful death beneficiaries are her

mother, Plaintiff Tawainna Anderson, her brothers, Nakye Anderson and Kevin Freeman Lamarr

Neal III, as well as potentially her biological father.

       181.    By reason of the death of Nylah Anderson, her wrongful death beneficiaries have

in the past and will in the future continue to suffer great pecuniary loss, including but not limited

to, loss of companionship, loss of comfort, loss of society, loss of guidance, loss of solace, loss of

protection, profound emotional loss, and profound psychological loss.

       182.    As a direct and proximate result of the foregoing, decedent, Nylah Anderson’s

wrongful death beneficiaries incurred or have been caused to incur and pay large and various

expenses for medical treatment, hospital care and to incur various funeral, burial and estate and

administration expenses for which Plaintiff is entitled to compensation in this proceeding.

       183.    Plaintiff, Tawainna Anderson, Individually and as Administratrix of the Estate of

Nylah Anderson, a deceased minor, brings this action by virtue of the Wrongful Death Act, 42

Pa.C.S.A. § 8301, and Pa.R.Civ.P. 2202, and claims all benefits and recoverable damages under

the Wrongful Death Act on behalf of all other persons entitled to recover under law.

       WHEREFORE, Plaintiff, Tawainna Anderson, Individually and as Administratrix of the

Estate of Nylah Anderson, a deceased minor, claims of Defendants, TikTok Inc. and ByteDance

Inc., jointly and severally, sums in excess of the jurisdictional threshold in compensatory damages,

punitive damages, delay damages, interest and allowable costs of suit and brings this action to


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recover same.

                                  COUNT VI – SURVIVAL ACT

    TAWAINNA ANDERSON, Individually and as Administratrix of the ESTATE OF
         NYLAH ANDERSON v. TIKTOK INC. AND BYTEDANCE INC.

        184.    Plaintiff hereby incorporates by reference each and every allegations contained in

the preceding paragraphs the same as though fully set forth herein.

        185.    Plaintiff claims on behalf of the Estate of Nylah Anderson all damages suffered by

the Estate by reason of the death of Nylah Anderson, including without limiting the generality of

the following: the severe injuries to Nylah Anderson, which resulted in death; the anxiety, horror,

and fear of impending and certain death, mental disturbance, pain, suffering, and other intangible

losses which Nylah Anderson suffered prior to death; the loss of future earning capacity suffered

by Nylah Anderson from the date of her death until the time in the future decedent would have

lived had she not died as a result of the injuries sustained by reason of the strict liability, failure to

warn, carelessness, negligence, gross negligence, recklessness, and willful and wanton conduct of

the TikTok Defendants as laid out herein.

        186.    Plaintiff brings this action on behalf of the Estate of Nylah Anderson, by virtue of

the Survival Act, 52 Pa.C.S.A. § 8302, and claims all benefits of the Survival Act on behalf of

Nylah Anderson’s Estate, and other persons entitled to recover under law.

        WHEREFORE, Plaintiff, Tawainna Anderson, Individually and as Administratrix of the

Estate of Nylah Anderson, a deceased minor, claims of Defendants, TikTok Inc. and ByteDance

Inc., jointly and severally, sums in excess of the jurisdictional threshold in compensatory damages,

punitive damages, delay damages, interest and allowable costs of suit and brings this action to

recover same.




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                           PLAINTIFF’S PRAYERS FOR RELIEF

       Plaintiff, Tawainna Anderson, Individually and as Administratrix of the Estate of Nylah

Anderson, a deceased minor, prays that this Court enter judgment in her favor and against

Defendants, TikTok Inc. and ByteDance Inc., jointly and severally compensatory damages in an

amount greater than the jurisdictional threshold plus costs of suit, severally as to each Defendant

for punitive damages in an amount sufficient to punish it and encourage it and others from similar

conduct, for delay damages, reasonable attorney’s fees, and for such further relief as is just and

appropriate under the circumstances.

                                  JURY TRIAL DEMANDED

       Plaintiff demands a trial by jury of all claims in this Complaint so triable.

                                              /s/ Robert J. Mongeluzzi
                                              Robert J. Mongeluzzi
                                              Jeffrey P. Goodman
                                              Samuel B. Dordick
                                              Rayna McCarthy
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                                              Counsel for Plaintiff



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